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  10                       UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12                              SOUTHERN DIVISION
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  14   EVOLUSION CONCEPTS, INC., a              Case No. 8:18-cv-01378-JLS-DFM
       California corporation,                  Hon. Josephine L. Staton
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  16               Plaintiff,                   JUDGMENT IN FAVOR OF
             v.                                 JUGGERNAUT TACTICAL, INC.
  17                                            OF NON-INFRINGEMENT OF U.S.
  18   JUGGERNAUT TACTICAL, INC., a             PATENT NO. 8,756,845
  19   California corporation; and DOES 1-10,
       inclusive,
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  21               Defendants.

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  23   AND RELATED COUNTERCLAIMS
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   1         Pursuant to the Court’s April 5, 2021 Order (Doc. No. 161) Granting
   2   Defendant’s Motion for Summary Judgment of Non-Infringement, Denying
   3   Plaintiff’s Motion for Summary Judgment, and Denying Defendant’s Motion for
   4   Sanctions, the Court directs entry of judgment as follows:
   5         1.     The Court grants final judgment of non-infringement of each and every
   6   claim of U.S. Patent No. 8,756,845 (“the ’845 Patent”) in favor of Defendant.
   7         2.     The Court retains jurisdiction to hear any timely motion or application
   8   for costs and/or attorneys’ fees pursuant to Fed. R. Civ. P. 54(d), Local Rules 54-1,
   9   et. seq., including Local Rule 54-7, and any other applicable statute or rule.
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  11   IT IS SO ORDERED.
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       Date: April 22, 2021
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  15                                          Hon. Josephine L. Staton
  16                                          United States District Judge

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